Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Andreas Antonopoulos
January 07, 2020

Page 1 of 30

 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO. 9:18-cv-80176-BB/BR
IRA KLEIMAN, as the personal representative
of the Estate of David Kleiman, and
W&K Info Defense Research, LLC,
Plaintiffs,

-vs-
CRAIG WRIGHT,

Defendant.

kK kw we ke Ke Oe OR Ke OKOKER KOKO

VIDEOTAPED DEPOSITION OF ANDREAS ANTONOPOULOS
DATE TAKEN: January 7, 2020

TIME: 10:10 a.m. 7:40 p.m.

PLACE: 2525 Ponce de Leon Boulevard

Miami, Florida 33134

TAKEN BEFORE: RICK E. LEVY, RPR, FPR
AND NOTARY PUBLIC

kK ke ke & kK Ke we KK Ke KR KR RH KK KK KOKO KK

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 2 of 30

Andreas Antonopoulos

 

 

January 07, 2020 29
1 on page eight also, I'm sorry?
z A. Yes.
3 Q. That continues all the way until page ten

4 where you have a new header called Block Subsidy and

5 Bitcoin Issuance; right?
6 A. Correct.
7 Q. Now, if you look at your invoice which is

8 Exhibit 6 and you go down to the fourth time entry you
9 have something called Ownership, Ledger and Mining;

10 correct?

11 A. Yes.

12 Q. And that corresponds with those pages that we

13 just went through five through ten?

14 MR. ROCHE: Objection. Going to instruct the
15 witness not to answer. You can ask him about time
16 but to the extent you're -- this is clearly going
17 into the drafting process which is prohibited under
18 the rules.

19 MR. KASS: No, Kyle. I'm asking him about a
20 final report right now. Not asking about his

21 draft. I'm allowed to ask questions about the

22 drafting process. I just can't -- I can't ask

23 about what the substance of the draft report but I
24 can ask him about the drafting.

25 MR. ROCHE: I disagree with your

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 3 of 30

Andreas Antonopoulos

 

 

 

January 07, 2020 30

1 interprelaLion of the rules so no.

2 MR. KASS: I'm going to ask my question and

3 you can object and we'll bring it to the judge if

4 necessary.

5 MR. ROCHE: I've already objected. You can go
6 ahead and ask it again and I'll object.

7 MR. KASS: I don't think I got my full

8 question out.

9 MR. ROCHE: I think you did get your full

10 question out.

11 MR. KASS: Hold on. My question wasn't clear
12 I was asking about the final report so I'm going to
13 re-ask it. Being very clear record I'm asking

14 about the final report which is Exhibit 5. You're
15 welcome to make your objection but I want to make
16 it very clear for the judge.
17 MR. ROCHE: Okay.

18 BY MR. KASS:

19 Q. Mr. Antonopoulos, if you look at Exhibit 6 you
20 go down to the fourth time entry it says Ownership,
21 Ledger and Mining; correct?
22 A. That is what I see on Exhibit 6, yes.
23 QO And it says 42 minutes?
24 A. Yes, that is correct.
25 Q And that means you spent 42 minutes drafting

 

 

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 4 of 30

Andreas Antonopoulos

 

 

January 07, 2020 31

1 those three portions?

2 MR. ROCHE: Objection, going to instruct the

3 witness not to answer as outside what is

4 permissible under the expert disclosure rules.

5 MR. KASS: Which part of the rule are you

6 citing to, Kyle?

7 MR. ROCHE: The draft reports part of the

8 rule. I think it was in addition edit to the rule
9 in 2013. Why don't we do this, Zalman. You're --
10 you're in violation -- outside the scope of what

11 the rule --

12 MR. KASS: Pulling up the rule right now.

13 MR. ROCHE: You want to have this discussion
14 on the record?

15 MR. KASS: Let me see what the rule says and
16 we'll tell you.

17 THE WITNESS: Can I refill my coffee?

18 MR. ROCHE: Do you want to take a break?

19 MR. KASS: Let's take a five minute break.

20 THE VIDEOGRAPHER: Off the record at 10:46.
21 (Thereupon, a brief recess was taken.)
22 THE VIDEOGRAPHER: On record 10:55.
23 MR. ROCHE: I am going to withdraw my previous
24 objection to your question. The witness can answer
25 questions relating to the amount of time he spent

 

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 5 of 30

Andreas Antonopoulos

 

January 07, 2020 32
1 on particular secLions of the report but beyond
2 that any questions about drafting of particular
3 sections I'm going to instruct him not to answer.
4 BY MR. KASS:
5 Q. That being said Mr. Antonopoulos, if you look

6 at Exhibit 6 and it says on the fourth entry down it

7 says Ownership, Ledger, Mining and it says 42 minutes.

8 A. That is correct.

2 Q. Does that -- do those time entries correspond
10 with the time -- with the portions of your final report
11 which are from page five through page ten?

12 A. No.

13 Q. What do they correspond to?

14 A. The shorthand used in the description is to
15 remind me broadly on which areas of the report I was
16 working on do not correspond to specific headings.

17 There are elements about Bitcoin ownership,

18 the Bitcoin ledger and mining throughout the report and

19 so that's not a direct correspondence in the description
20 in my time sheet to specific headings within the report.
21 Q. So let's go to the time entry that says intro

22 on keys.

23 A. Yes.
24 Q. Do you have an introduction in your report?
25 A. Sorry?

 

 

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 6 of 30

Andreas Antonopoulos

 

 

January 07, 2020 33
1 Q. Do you have an introduction in your report?
2 A. I don't think so. No.
3 Q. But you do have a portion that talks about
4 keys?
5 A. That's correct.
6 Q. Would that be on page six through seven?
7 A. No, there are references to keys in other

8 parts of the report also.

9 Q. But let's just break this down. The first 18
10 minutes was a planning call with Mr. Roche. Not asking
11 for the content. Just to be clear, you had a call with

12 Mr. Roche for 18 minutes?

13 A. Less than 18 minutes.

14 Q. So is that because you round up?

15 A. Because I round up to the nearest six minute
16 span.

17 Q. Okay. When you were on the phone with

18 Mr. Roche were you simultaneously drafting your report?

19 A. Not to my recollection.
20 Q. Next time entry six minutes e-mail about
21 security and extra permissions. Were you drafting your

Le report when you did that?

23 A. No.
24 QO. So when you start -- your next time entry is
25 intro on keys?

 

 

 

U.S. LEGAL SUPPORT
www.uSlegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 7 of 30

Andreas Antonopoulos

 

 

 

January 07, 2020 161

1 connection between the two of them or you jusl can't be
2 certain?

3 A. I don't know the context off the cuff.

4 Q. I'm just asking do you believe there's a

5 connection the two of them?

6 A. I don't know. It's possible.

7 MR. ROCHE: Object to the form.

8 BY MR. KASS:

9 Q. No reason to believe there is no connection
10 between the two?

11 A. No way to opine either way.
12 Q. Would it be fair to say that on May 2nd you
13 were not very impressed with Gavin Andresen's post

14 stating Craig Wrighl is the person who invented Bitcoin?
15 MR. ROCHE: Objection to form.
16 THE WITNESS: What I have said in public

17 repeatedly is that I don't believe the identity of
18 Satoshi Nakamoto is relevant to Bitcoin. That

19 searching for information on the identity of
20 Satoshi Nakamoto is a kind of an appeal to
21 authority that is ante-thetical both to Bitcoin's
22 culture but also to in my opinion the intent of
23 Satoshi Nakamoto in choosing to first of all, be
24 pseudonymous.
25 Secondly, taking great effort to maintain

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 8 of 30

Andreas Antonopoulos

 

January 07, 2020 162

1 their privacy and thirdly, removing themselves from
2 the public sphere in I believe it was April of

3 2010.

4 All of these elements indicate to me that

5 Satoshi Nakamoto, whoever they may be, valued their
6 privacy and Bitcoin is a system of mathematical

7 rules that stands independent of its creator and

8 therefore as I have said publicly I don't think

9 it's relevant and I think we should respect the

10 privacy of the creator of Bitcoin. So I'm not
11 interested in pursuing information about the

12 identity of Satoshi Nakamoto.

13 BY MR. KASS:

14 Q. I get it. I want you to focus on my qucstion
15 is that you were not very impressed with Gavin

16 Andresen's statement that he thought Craig was Satoshi?
17 A. I don't remember my state of mind at the time

18 when I read this.

19 MR. KASS: Maybe the next document will help
20 refresh your recollection.

21 (Defendant's Exhibit No. 30 was

22 marked for identification.)

23 BY MR. KASS:

24 Q. Mr. Antonopoulos, do you recognize this tweet?

25 A. Yes.

 

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 9 of 30

Andreas Antonopoulos

 

 

 

January 07, 2020 163
1 Q Is this something you tweeted?
2 A Apparently so.
3 Q. Any reason to believe you didn't tweet it?
4 A No.
5 Q What did you write in that tweet?
6 A. "Avoid Shawden Fraud. Con artist can fool

7 even the smartest people. What happened to Gavin and

8 John could happen to anyone. Hash tag empathy time."

9 Q. Do you recall what happened to Gavin?

10 A. I believe that he was persuaded to act as a
11 verifier of Craig Wright's identity as Satoshi Nakamoto.
12 I believe that's what I'm referring here and was then
13 very, very negatively criticized by a lot of people in
14 the community and I felt that that was unfair.
15 Q. Now, I want to focus on two words. Con

16 artist. Who is the con artist in this tweet?

17 A. Well, I don't know that I'm referring to any
18 specific person. The point I was making in this tweet
19 is that -- is that intelligence and the ability to
20 discern truth from falsity is -- are not correlated

21 meaning that very often very smart people cannot tell
22 the difference between something that is true and

23 something that is false and that is why con artists can

24 fool even the smartest people.

25 Q. Let's focus on state again Gavin Andresen was

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 10 of 30

Andreas Antonopoulos

 

January 07, 2020 164
1 going to verify if Craig was Satoshi. He made a public
2 post Craig was Satoshi and then you said a con artist --

3 what happened to Gavin can happen to anybody and

4 somebody fooled him. Who fooled him in that situation?

5 MR. ROCHE: Object to the form.

6 THE WITNESS: I didn't say that somebody

7 fooled him. What happened to Gavin and John could
8 happen to anyone refers to the fact that Gavin and
9 I believe John here refers to John Matonis, I'm not
10 sure, I can't remember, were engaged to do a

11 verification and then were heavily criticized for
12 the way they did the verification and the details
13 of the verification all of which were unfair to I
14 believe Gavin and John. They were being called

15 names on the internet.

16 BY MR. KASS:

17 Q. But what happened to them? What happened to
18 them when they were going to verify that Craig Wright

19 was Satoshi?

20 A. They put themselves in a position of being

21 heavily criticized by people who weren't there about the

22 methods in which they attempted to verify that

23 information.
24 A lot of people criticized the methodology
25 that was chosen and criticized the intelligence of Gavin

 

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 11 of 30

Andreas Antonopoulos
January 07, 2020 165

 

1 and John for participating in this verification. I

2 myself declined to participate and I believe this tweet
3 refers to the fact that after the media broadly opined
4 that Gavin had been discredited by his participation in
5 the -- people were engaging in Shaudenfrada which is

6 taking the light other people's misfortune.

7 Q. I want to focus. You have the word fool,

8 okay?

9 A. (Indicating) .

10 Q. It's reading plain English Gavin and John were

11 fooled by somebody; right?

12 A. I don't know that that sentence refers to what
13 Gavin and John -- what happened to Gavin and John.
14 Q. So you're just stating by itself con artist

15 can fool even the smartest people pause new subject what

16 happened to Gavin and John can happen to anybody there's

17 no connection between the two sentences?

18 MR. ROCHE: Object to the form.

19 THE WITNESS: I do recall the state of mind,
20 the context or what I was referring to in there
21 other than my appreciation in a intelligence is
22 not -- is not the only criterion in being able to
23 determine truth or falsity.

24 BY MR. KASS:

25 Q. SO --

 

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 12 of 30

Andreas Antonopoulos

 

January 07, 2020 166
1 A. And that people were attacking Gavin's
2 intelligence.
3 Q. Let's just try and break this down. We can
4 move on I want to make sure I get it right. Con artist

5 you do not know who the con artist is over here;

6 correct?

7 A. I do not know who I was referring to in that
8 particular --

9 Q. When it says fool you don't know who was

10 fooled and you don't know how they were fooled?

11 A. Yes.

12 MR. KASS: Introducing Exhibit 31.
13 (Defendant's Exhibit No. 31 was

14 marked for identification.)

15 BY MR. KASS:

16 Q. Mr. Antonopoulos, I want you to focus on the
17 tweet by someone called Charles Austenson. Look at the
18 whole document and then we'll talk. I want to make sure

19 you have a chance.

20 A. Yes.

Zak Q. First we have someone a cat name Joe who says

22 I understand Craig has demonstrated privately to selling
23 crypto include Andreas that he is creator of Bitcoin.

24 Then we have "Andreas, do you believe Craig is Satoshi?"
25 Then we have chief monkey we would like to know your

 

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 13 of 30

Andreas Antonopoulos

 

January 07, 2020 167
1 Lake "did he demonstrate to you in private. Kind of
2 find that hard" then you say "not true. Fraud." Is

3 that a tweet that you did?

4 A. Apparently so yes. I have no reason to

5 believe it isn't.

6 Q. So you were calling Craig Wright a fraud?

7 MR. ROCHE: Objection to form.

8 THE WITNESS: No. I believe I was calling A

9 Cat Named Joe a fraud in this tweet from the

10 context in reading it. A Cat Named Joe stated that
11 Craig has demonstrated privately to several

12 prominent people in crypto including Andreas

13 Antonopoulos that he is the creator of Bitcoin and
14 that was an untrue and fraudulent statement.

15 BY MR. KASS:
16 Q. So you have no opinion as to whether Craig in
17 fact did prove that any -- you have no opinion as to

18 whether Craig has shown that he is Satoshi?

19 A. I don't know.
20 Q. You don't know if it was forged?
21 A. IT read some articles that described the

22 methodology as flawed and the resulting outcome as
23 forged but I did not examine that evidence myself. I
24 did not pursue that subject and I did not form an

25 opinion. I don't know if Craig Wright is or is not

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 14 of 30

Andreas Antonopoulos

 

January 07, 2020 168
1 Satoshi.
2 Q. You don't know whether or not he forged any
3 proof in connection with demonstrating that he was
4 Satoshi?
5 A. I didn't review those myself.
6 Q So you don't know?
7 A. I do not know.
8 Q Generally do you state things that you don't

9 know?
10 A. Sorry?
11 MR. ROCHE: Objection, form.

12 BY MR. KASS:

13 Q. As a general rule do you state things when you
14 have no basis for it?

15 MR. ROCHE: Objection, form.

16 THE WITNESS: As a general rule no. I do not
17 state things that I don't have knowledge of.

18 BY MR. KASS:

19 Q. Do you think Craig Wright is a fraud?
20 A. I don't know.
21 MR. ROCHE: Form.

Ze BY MR. KASS:

23 Q. Do you know if he has ever attempted a fraud?
24 MR. ROCHE: Objection to form.
25 THE WITNESS: I don't know.

 

 

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 15 of 30

Andreas Antonopoulos
January 07, 2020 169

1 MR. KASS: Kyle, you have to deal with some
2 audio. It's going to be short.
3 MR. ROCHE: Why don't we put it close to one

4 of the speakers.

5 MR. KASS: Let me get it up.

6 MR. ROCHE: Is it a video or audio?

7 MR. KASS: Just audio.

8 THE WITNESS: Do you mind if we take a brief
9 interruption for a bathroom break while you pull

10 that up?

Ti THE VIDEOGRAPHER: Off the record.

12 (Discussion held off the record.)

13 THE VIDEOGRAPHER: On record 4:00.

14 MR. KASS: Now I am going to put this up on my

15 computer. Hopefully it will work.

16 MR. LEVINE: Graphic things which so far

17 nobody has been able to do but when Craig Wright
18 came out and first said that he was Satoshi and
19 there was all the news that surrounded that. He
20 didn't actually have much of a story. He sort of
21 denied it and he said sort of said no, that's not
22 me and then at the end he was like well, actually
23 that is me and I'll sign this message and then he
24 didn't sign the message and so everybody was like

25 you're a fraud.

 

 

 

U.S. LEGAL SUPPORT
www.uSlegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 16 of 30

Andreas Antonopoulos

 

January 07, 2020 170
1 MR. ANTONOPOULOS: Well, no, no, hang on
2 because these facts really, really matter. Craig
3 Wright --
4 BY MR. KASS:
5 Q. First of all, the second voice, Mr.

6 Antonopoulos, do you recognize that?

7 A. Yes. I believe that's Adam B. Levine, my
8 co-host on the Let's Talk Bitcoin podcast.

9 Q. I just want to clarify. There was a first

10 voice. Who was that?

11 A. The second voice is me. The first voice Adam
12 B. Levine. The second voice is me.

13 Q. So when I just paused you were speaking?

14 A. That's correct.

15 MR. KASS: Now I'm going to continue.

16 MR. LEVINE: It did produce proof that it was
17 forged. The only proof he produced was a fraud and
18 it was a fraud that was disproved by its very

19 contents so the only thing that Craig Wright has
20 done is repeatedly produced fraudulent proofs of
21 their identity as Satoshi. It's like they didn't
22 produce anything. They produced a forged

23 Signature.

24 MR. ANTONOPOULOS: Yes.

25

 

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 17 of 30

Andreas Antonopoulos

 

January 07, 2020 171
1 BY MR. KASS:
2 Q. Just want to confirm that was your voice?
3 A. That was correct.
4 Q. Was that recording an accurate reflection of

5 what you actually stated during that podcast?

6 A. Yes.

7 Q. Have you ever heard of the name Faketoshi?

8 A. Yes.

9 Q. Have you ever heard of that name as it refers

10 to Dr. Craig Wright?

11 A. I believe it's a name used to characterize

12 many people who have claimed to be Satoshi Nakamoto and
13 some people have applied it to Dr. Wright.

14 Q. Is Paketoshi a derogatory namc?

15 A. It's I think a statement of opinion that they
16 are not Satoshi. Therefore fake Satoshi therefore

17 Faketoshi. I don't think it's derogatory. I think it's
18 an opinion of the fact that they are not.

19 Q. Well, it's an opinion that they're a fake;

20 right?

21 A. That they are a fake Satoshi.

22 Q. Not authentic they're fake. You're stating --
23 A. They are a fake Satoshi.

24 Q. Your opinion calling somebody a fake is not

25 derogatory?

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 18 of 30

Andreas Antonopoulos

 

January 07, 2020 172
1 A. It's my opinion that calling someone a fake
2 Satoshi is a statement of opinion as to the voracity of

3 a claim they are Satoshi.

4 Q. Is it a positive opinion or a negative
5 opinion?
6 A. It is an opinion as to the fact that they are

7 not Satoshi.

8 Q. You can't answer whether or not it is a

9 negative or positive?
10 A. I don't think it's colored in that way. I
11 simply think it's an opinion the fact they are not

12 Satoshi.

13 Q. We'll see what the jury thinks. Let's look at
14 this one.

15 A. Okay.

16 MR. KASS: This is Exhibit 33.

17 (Defendant's Exhibit No. 33 was

18 marked for identification. )

19 BY MR. KASS:

20 QO. Is this a tweet that you tweeted?

21 A. I don't remember. Apparently I would assume
22 so.

23 Q. Any reason to believe that you didn't tweet
24 it?

25 A. No.

 

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 19 of 30

Andreas Antonopoulos
January 07, 2020 173

 

1 Q. Take a minute -- read it to yourself and let

2 me know when you're done.

3 A. Yes.

4 Q. Do you see you are embedding some article or

5 some other contact by information by a Mike V?

6 A. I am quote retweeting Mike V.

7 Q. Thank you. You're quoting his tweet that says

8 it appears that CSW. Who is CSW?

9 A. I assume that refers to Craig Wright.

10 Q. Thank you. Is -- what do you mean by you
11 assume it refers to him?

12 A. I don't know what Mike V. said in there but

13 CSW is often used as shorthand for I think it's his

14 name, his initials.

15 Q. Yes, his middle initial is S.

16 A. I assume that is Craig S. Wright.

17 Q. It appears that CSW is in the possession of

18 the at Satoshi account. Both of them don't know how to
19 use commas and they share the same false narrative. You

20 retweeted that?

21 A. I quote retweeted that, yes.

22. Q. Then you wrote your own message on top of
23 that?

24 A, Yes.

25 Q. What did you write in that message?

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 20 of 30

Andreas Antonopoulos
January 07, 2020 174

 

1 A. LOL. Every message Faketoshi writes disproves
2 his attempted fraud. The real Satoshi was capable of

3 forming sentences with punctuation and grammar. We have
4 plenty of samples both formal and conversational. None
5 were sloppy like Faketoshi. Blocking at Satoshi. You

6 should too.

7 Q. That was all related to Craig Wright?

8 A. That was related to the at Satoshi account

9 which is the account that I'm actually referring to in
10 the final sentence where I say "blocking at Satoshi you

11 should too."

12 Q. So when you state "every message Faketoshi
13 writes disproves his attempted fraud." Who are you

14 referring to?

15 A. I assume from context that I am referring to

16 the postings of the at Satoshi account.

17 Q. And -- so you're not referring to Craig Wright
18 when you state Faketoshi?

iho A. I don't believe I have mentioned Craig Wright
20 | in this tweet at all.

21 Q. But you're retweeting a tweet from Mike V. who
22 says "it's Craig Wright who is the at Satoshi account"
23 and you're building on his statement; correct?

24 A. I'm retweeting a tweet that is referring to

25 the postings posted by the Satoshi account and the fact

 

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 21 of 30

Andreas Antonopoulos

 

January 07, 2020 175
1 that those postings don't know how to use commas and
2 share the same false narrative.
3 In that tweet Mike V. is speculating that it

4 appears that Craig S. Wright is in the possession of the
5 Satoshi account and I am talking about from context it
6 appears I am talking about the postings of at Satoshi
7 account as not being consistent with the real Satoshi
8 who is capable of forming sentences with punctuation and
9 grammar and of which we have plenty of samples both
10 formal and conversational. None were sloppy like
11 Faketoshi and I am blocking or sorry, next sentence
12 blocking at Satoshi. You should too.
13 Q. So I want to make sure I understand. Is it
14 your position that this twect has nothing to do with
15 Craig Wright?
16 A. I don't recall my state of mind at the time
17 when I tweeted this but I do not refer to Craig Wright.
18 I do not mention Craig Wright. And I am -- I do mention
19 however at Satoshi an account that is posting as Satoshi
20 and in that context I use the term Faketoshi and I talk
21 about the writing style of the at Satoshi tweet.
22 Q. So I'm not asking you about your state of mind
23 when you tweeted it and I'm not asking about the Satoshi
24 account. All I want to ask you is -- my only question

25 is is it your position that this tweet has nothing to do

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 22 of 30

Andreas Antonopoulos

 

January 07, 2020 176
1 with Craig Wright?
2 MR. ROCHE: Objection, asked and answered.
3 THE WITNESS: I don't recall what this tweet
4 is other than what I read right now this tweet was
5 posted a year and two months ago.
6 BY MR. KASS:
7 Q. So you can't state either way whether or not
8 it was referring to Dr. Craig Wright?
9 A. I can state definitively that I do not mention

10 Craig Wright anywhere in my tweet.

11 Q. That's fine. The jury will be able to read

12 the tweet. My only question is do you have any

13 recollection as to what it is referring to and your

14 answer is no?

15 A. I do not have any recollection of what this is
16 referring to.

17 Q. Are you aware of Dr. Wright saying anything

18 derogatory about you?
19 A. Yes. It has come to my attention that

20 Dr. Wright referred to me using what appeared to be a

21 derogatory term or was reported as a derogatory term. I
22 saw something about that in an article recently.

23 MR. KASS: Let's introduce it.

24 (Defendant's Exhibit No. 32 was

25 marked for identification.)

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com

 
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 23 of 30

Andreas Antonopoulos

 

January 07, 2020 177
1 BY MR. KASS:
2 Q. I'm introducing Exhibit 32. I really want you
3 to turn to the second page where you see a tweet under

4 the handle Dr. Craig S. Wright.

5 A. I see it.

6 Q. In that tweet he calls you a shitcoin expert?
7 A. It appears so. I don't remember reading this
8 tweet. That is the term that was reported as derogatory
9 in this article.

10 Q. Says the only thing correct is you know how to

11 spell Bitcoin?

12 A Yes. That's what I'm reading here.

13 Q He calls you an anarchist priest?

14 A Yes.

15 Q. He says nothing he tells you is right?

16 A I see that.

17 QO This was after all the other documents that

18 we've went through probably the past ten exhibits if you
19 look at the date of this document the tweet is

20 January 22nd 2019. That was after Exhibit 32?

21 A. Apparently so.

22 Q. Also after Exhibit 31?

23 A. Yes, apparently so.

24 Q. And after Exhibit 30?

25 A. I'll agree after all the exhibits you've shown

 

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 24 of 30

Andreas Antonopoulos

 

 

January 07, 2020 248
1 BY MR. KASS:
2 Q. This isn't an issue of speculation. I'm
3 entitled to know what the scope of your report is and
4 what type of work you've done for your report.
5 A. Yes.
6 Q. So my question is what type of work have you

7 done until this date with regard to the realizable value

8 of Bitcoin?

9 A. I have worked as an advisor to exchanges and I
10 also have personal experience buying and selling Bitcoin
11 on exchanges. So that personal experience has informed
12 my opinions included in this report.

13 Q. So what was the realizable value of Bitcoin on
14 April 24th 2012 -- 2013, I'm sorry?

15 MR. ROCHE: Objection, form.

16 THE WITNESS: I don't recall that information.

17 BY MR. KASS:
18 Q. Have you done any work to figure that out?
19 A. Have I currently done any information to

20 figure out the realizable value on April 24th 2000 --

21 Q. '13?

22 A '13?

23 Q. Yep.

24 A I haven't.

25 Q Have you done any work in connection with this

 

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 25 of 30

Andreas Antonopoulos

 

January O07, 2020 249
1 expert report as to determine the realizable value of
2 any cryptocurrency?
3 A. Yes, I've used my own experience and

4 understanding of markets to understand the listed price
5 of Bitcoin as it relates to the dates that I have shown
6 in the table in section 85.

7 Q. But that table is not the realizable value,

8 that's the listed value?

9 A. That is what I have testified towards.
10 Q. So what work have you done with regards to the
il realizable value of Bitcoin in this engagement?
12 A. I have not done any work specifically to the
13 realizable value in this engagement at this time other
14 than apply my own experience with market trading and
15 advising exchanges to form opinions.
16 Q. So what opinions have you formed as to the

NG realizable value of Bitcoin with regard to this

18 engagement?

19 A. That it depends on a number of factors such as
20 liquidity and order books and the availability of buyers
21 in different markets.

22 Q. Where is that opinion contained in this

23 report?

24 A. I don't know that I specifically -- I don't

25 think I specifically mentioned that.

 

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com

 
Case 9:18-cv-80176-BB

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

2)

 

Andreas Antonopoulos

Document 500-6 Entered on FLSD Docket 05/09/2020 Page 26 of 30

 

January 07, 2020 250
Q. Did you mention it at all?
A. I don't know that I used -- I don't see that I

used the specific words "realizable value" in my report.
I may have. I could read through the entire report and
try and see if I used those words. I can't tell by
looking at it right now.
MR. ROCHE: I can represent to you he doesn't
use that term in his report.
MR. KASS: Let's take a break. I think I'm
almost done.
THE VIDEOGRAPHER: Off the record 6:30.
(Thereupon, a brief recess was taken.)
THE VIDEOGRAPHER: On record 6:46.
BY MR. KASS:
QO Mr. Antonopoulos, are you an economist?
A. I am not an economist.
Q Do you have any economic training?
A. I have taken some -- I took an economics class
in college and one in high school but limited.
Q. Other than that that's your extent of formal

training on economics?

A. That 1S correct.
Q. Do you have any expertise as to economics?
A. I have some personal experience and I have

read extensively in the field because it's of some

 

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 27 of 30

Andreas Antonopoulos

 

January 07, 2020 251
1 interest to me.
2 Q. What do you mean by you have some personal
3 experience?
4 A. I manage several and have managed several
5 small businesses. I engage in investments. I have
6 invested in companies. I have traded securities.

7 Exchanged traded funds, bonds and cryptocurrency so I

8 have some personal experience with markets, micro

9 economics and economics within the context of running a
10 business.

11 I've also worked extensively in the financial
12 sector as an information security and information

13 technology consultant as a result I have seen the inner

14 workings of hedge funds, trading desks and built

15 technology systems for those environments and learned a
16 lot about those environments in the process.

17 Q. Do you consider yourself to be an expert in
18 economics?

19 A. An expert in economics, no.

20 Q. Now, going through your expert report you

21 testified about the history of block chain, some

oe, specific block chain technologies, block chain forks and
23 I know there are other things you also talked about but
24 those are some of the subjects?

P15 A. That's correct.

 

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 28 of 30

Andreas Antonopoulos

 

January 07, 2020 AS 2
1 Q. Now, for all those subjects that you testified
2 about is there any way you reached any -- is there any

3 methodology that you used to reach your conclusions in

4 your report?

5 A. I don't know what you mean by the word

6 methodology.

7 Q. Let me say you state that -- paragraph 68 on

8 page 15?

9 A. 68?

10 Q. Paragraph 68 on page 15.

11 A. Yes.

12 Q. "As part of the normal process of consensus
13 two miners following the same rules may by coincidence

14 solve the proof of work algorithm and produce two
15 competing blocks simultaneously." That's an opinion of

16 yours; correct?

17 A. Yes.
18 Q. How did you reach that opinion?
19 A. By studying the operation of algorithms. By

20 studying the source code. By running test networks that
val Simulate these conditions and by observing these

22 conditions on the Bitcoin block chain and other block

23 chains as they occurred in real time.

24 Q. In paragraph 67 that "some consensus rule

25 changes to the Bitcoin software backwards compatible in

 

 

 

U.S. LEGAL SUPPORT
www.uslegalsupport.com
Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 29 of 30
1/5/2020 Andreas @ @ # 8s @ £ (0 & Q = on Twitter: "Avoid schadenfreude. Con artists can fool even the smartest people. What happene...

Andreas .. @ ( sh
\ Follow Jo
@aantonop eH

Avoid schadenfreude. Con artists can fool
even the smartest people. What happened to
Gavin and Jon could happen to anyone.

#empathytime

8:19 AM - 5 May 2016

128 Retweets 287Likes Q@YSQBSE HOS

QO 37 Tl 128 287

Andreas @ @aantonop -5 May 2016 v
Replying to @pr1234321
@pr1234321 Bwahaha

? wv

zooko @zooko - 5 May 2016 Vv
Replying to @aantonop

@aantonop Absolutely. It's easy for observers and people with 20/20 hindsight
to imagine they'd have done better.

CO 7 Tl 2 20

zooko @zooko - 6 May 2016 v
@aantonop Although, | guess | ought to say that | personally was approached by
CSW reps and | immediately smelled it and stayed away.

QD 3 tT) 15 58

6 more replies

wawin @wawin - 5 May 2016 v
Replying to @aantonop

oS @® @ 9

@aantonop 1) he's said before he would give Satoshi write access if he came
back. 2) he believed CW was Satoshi. Clear problem IMO EXHIBIT

; 2 0 11

https://twitter.com/aantonop/status/728242767869018113?lang=en

 
 

 

 

 

Case 9:18-cv-80176-BB Document 500-6 Entered on FLSD Docket 05/09/2020 Page 30 of 30

1/4/2020 Andreas ® @ # 8s @ £§ () & Q = on Twitter: "LOL. Every message Faketoshi writes disproves his altempted fraud. The real Satos

Andreas .~@ %
\ Follow } v
@aantonop pnp ec

LOL. Every message Faketoshi writes
disproves his attempted fraud. The real
Satoshi was capable of forming sentences
with punctuation and grammar. We have
plenty of samples, both formal and
conversational. None were sloppy like
Faketoshi.

Blocking @Satoshi, you should too.

Mike V @Mike_V_
It appears that CSW is in the possession of the @satoshi account.
Both of them don't know how to use commas and they share the
same false narrative.

 

2:58 PM - 16 Nov 2018

465 Retweets 1,831 Likes [2 ©) S&S VvV@ @@ ew

QO 148 «Tl 465 1.8K
ry CryptoTesla @Sisko86 - 16 Nov 2018 Vv
_ Replying to @aantonop @satoshi
Any chance the Phil Wilson story is real?
O 4 ‘ws
@) Andreas @ @aantonop -16 Nov2018 v
Rules without rulers. The rest is security theater and distraction
O 2 VQ 7 44 EXHIBIT
1 more reply ‘5 Zz

https:/Awitter.com/aantonop/status/10635669435825 11104 ?lang=en

 
